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                  Exhibit 9
   Declaration of James Bamfield
          (Nov. 22, 2023)
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Attorneys for Plaintiffs

  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                    BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN; THE
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                         Cause No. CV 23-50-BU-
IMAGINE NATION BREWING                                     BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                              Declaration of
CENTER; THE GREAT FALLS LGBTQ+                        James Bamfield,
CENTER; THE ROXY THEATER; and                    President of the Great Falls
THE MYRNA LOY,                                         LGBTQ Center

                           Plaintiffs,
             vs.

 AUSTIN KNUDSEN; ELSIE ARNTZEN;
 J.P. GALLAGHER; and the CITY OF
 HELENA,

                           Defendants.


I, James Bamfield, declare as follows:
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1.   I am over 18 years of age and a resident of Great Falls, Montana.

2.   I am the president of the Great Falls LGBTQ Center (“The Great

     Falls Center”), a nonprofit organization in Great Falls, Montana.

3.   The Great Falls Center’s mission is to enhance and sustain the

     health and well-being of the LGBTQ+ community by providing

     activities, programs, and services that will empower our community

     to embrace and support our cultural diversity.

4.   The Great Falls Center believes everyone in our city deserves

     dignity, respect, and equality, and that our community thrives

     when we uplift and support one another. The Great Falls Center

     works to uphold these values and protect our LGBTQ+ community

     members.

5.   The Great Falls Center reaches more than two thousand people

     each year through programming, events, and resource-sharing.

6.   The Great Falls Center hosts events at its primary physical location

     in Great Falls, as well as other locations throughout the city,

     including venues that appear to be subject to the restrictions

     imposed by House Bill 359 (“HB 359”).




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7.    For example, the Great Falls Center partners with local churches

      to host “Friendsgiving” dinner, a time of community and a

      welcoming, affirming meal for people who feel alienated and alone

      during the holidays.

8.    The Great Falls Center also maintains a clothing closet that

      individuals may take from to dress according to their gender

      identity, assists community members with legal name changes and

      obtaining identity-consistent legal documents, and works in

      partnership with other community organizations to offer free HIV

      and STI testing and health-related community outreach.

9.    The Great Falls Center hosts events open to the community that

      sometimes include drag performances.

10.   In June 2023, the Great Falls Center hosted several Pride events,

      including a family-friendly daytime event at the Paris Gibson

      Museum of Art emceed by a drag performer and featuring age-

      appropriate music, costuming, and vendors.        Over a thousand

      people attended the event.




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11.   Prior to that event, the venue, event organizers, and performers

      expressed concerns that holding the event as planned could lead to

      fines and liability under HB 359.

12.   The Great Falls Center has been unable to determine the scope of

      HB 359’s ambiguous restrictions and remains unsure about what

      HB 359 prohibits.

13.   The Great Falls Center remains concerned that HB 359 appears to

      prohibit some of the performances it hosts and that some of its

      activities, including the use of the clothing closet, could trigger fines

      and liability under HB 359.

14.   These concerns led the Great Falls Center to modify its annual

      Halloween party for LGBTQ+ teens and allies in 2023. Previous

      years’ parties included an appearance by a drag queen, but we did

      not have one at this year’s party because of HB 359.

15.   HB 359 directly interferes with the Great Falls Center’s mission of

      enhancing and sustaining the health and well-being of the LGBTQ+

      community.      HB 359 criminalizes a wide variety of gender-

      affirming self-expression that the Great Falls Center celebrates and

      supports.


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16.   As President of the Great Falls Center, I am concerned about civil

      and criminal liability under HB 359, both on my behalf and that of

      others. I am unsure of how to limit my potential liability or the

      liability of the Great Falls Center, its board members and

      volunteers, and the broader community that we serve.


I declare under penalty of perjury that the foregoing is true and correct.

DATED this _22_ day of November, 2023.



                                        ID RSH3gx4mi4avtqE4rC9Xitau


                                        James Bamfield




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eSignature Details

Signer ID:        RSH3gx4mi4avtqE4rC9Xitau
Signed by:        James Bamfield
Sent to email:    jbamfield@greatfallslgbtqcenter.org
IP Address:       184.167.244.196
Signed at:        Nov 22 2023, 5:24 pm MST
